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Dear Judge,

My name is Vadim Anatolyevich Koval, I have been working in companies owned by Vladislav
Dmitrievich Klyushin for more than 7 years. Due to the nature of my job I was engaged in various
a reas of work, but at the same time I was in constant contact with V.D. Klyushin, so I have been
able to get to know not on ly his business habits, but also him as a person.
One of the main advantages of working under V.D.Klyushin is h is immed iately established friendly
rapport with employees of any level, including ordinary workers and even c leaners. Despite strict
demands pertaining to the employees' qual ity of work, here it is not at a ll common to raise your
voice or insult a subordinate, whatever claims are made against them. During these 7 years, I have
never come across such things and never witnessed th is sort of disrespect to employees. And the
main beacon of such humane attitude is V.D. Klyushin himself, who demands similar approaches to
communication from all department heads.

Several times it so happened that 1had some personal troubles and issues, so I had to repeatedly
seek help from V.D. Klyushin, and each time he tried to provide maximum assistance in solving
these problems. This was the case in 2018, when I asked him to assist with getting inpatient
treatment for my father's oncology. This was the case last year, when, to improve my daughter's
living cond itions, I had to take out a mortgage loan for 5 years with a monthly payment too large for
me. Having learned about this, V.D. Klyushin not only promised that the management of the
company "M 13" wou ld help me repay this mo1tgage loan ahead of schedule, but also, taking into
account my conscient ious attitude to work, he rewarded me several times with significant bonuses
so I would be able to repay my debt to the bank as soon as possible.

From what I personally know, similar cases, when V.D . Klyushin helps employees who turn to him
for help in a difficu lt situation, happen regularly. In addition, as far as I know, V.D .Klyushin on a
regular basis helps the char ity "House with a Lighthouse", which specializes in helping term inally ill
children. He regularly donates considerable amounts of personal funds and funds of "M 13".

Due to these excellent qualities, V.D.Klyushin has well-deserved and indisputable respect from all
employees - not only as a competent and caring leader, but also as a person who is ready to help his
fellow humans at any moment. It is largely thanks to such a healthy atmosphere in the company,
whose employees are a lways focused on creative a pproaches and achieving maximum results, that it
in turn affects the reputation of the company "M 13" among its many clients. It is considered a
reliable partner who always fulfills obligations to provide unique informat ion and analytical
services.
